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                                   United States District Court
                                                            for the

                                                 Southern District of Ohio


                United States of America
                             V.

                                                                      Case No. 2:22-mj-375
                Martino Dante LORENZi
                   (DOB:01/XX/1988)




                                                 CRIMINAL COMPLAINT


         I, the complainant in this case,state that the following is true to the best of my knowledge and belief.
On or about the date<s)of         Feb. 22.2022 thru May 26, 2022      in the county of              Franklin            in the
                     District of         _ Ohio _          ,the defendant(s) violated:

         Code Section                                                    Offense Description
18U.S.C. 371                                -Conspiracy to violate federal law (engaging in the business of firearms
16U.S.C. 922(a)(1)(A)                       dealing without a license)




         This criminal complaint is based on these facts:
See attached Affidavit




         sT Continued on the attached sheet.



                                                                                         (Mmpioinant's sienatt
                                                                                         Cmmplalnant's signature

                                                                                 Teresa J. Petit, AJF Special Agent
                                                                                          Printed name and title


Sworn to before me and signed in my presence.


Date;       May 26, 2022


City and state;                      Columbus^ Ohio
                                                                                JEj^abel^A^reston De^ei^ / ^
                                                                                United            MagistiBte Judge, :             fj
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                                          ATTACHMENT A

I,Teresa Petit, being duly sworn,depose and state that;
I have been a Special Agent, with the United States Depaitment of Justice, Bureau of Alcohol,
Tobacco,Firearms and Explosives(ATF)since May of2014. I am a graduate of the ATF National
Academy Special Agent Basic Training Program and the Federal Law Enforcement Training
Center, Criminal Investigator Training Program. As a result of my training and experience as an
ATF Special Agent,I am familiar with Federal criminal laws pertaining to firearms violations. As a
Special Agent, I am also authorized to carry firearms, execute warrants, make arrests for offenses
against the United States,and perform other such duties as authorized by law.
     1. This affidavit is made in support of a criminal complaint against Martino D. LORENZI,
        (DOB:01/22/1988) who, with others, engaged in a conspiracy to engage in the business of
          dealing in firearms without a license, in violation of Title 18, United States Code,Sections
          371 and 922(a)(1)(A).

     2. The statements in this affidavit are based upon my training and experience, consultation
           with other experienced investigators and agents, review of relate police reports, and other
          sources of information relative to firearms investigations. This affidavit is intended to set
          forth probable cause in support of the criminal complaint and does not purport to set forth all
           my knowledge regarding this investigation.

     3. On or about February 22, 2022, LORENZI, a resident of Cleveland, Ohio, contacted a
           resident ofthe Southern District of Ohio to coordinate a purchase of firearms.

     4. On or about February 24, 2022, LORENZI traveled to the Southern District of Ohio and
        purchased nine(9)firearms for approximately $3,300.

     5. Between the approximate dates of February 24 and March 19,2022,LORENZI,with others,
           coordinated approximately seven(7) other firearm purchases. LORENZI and/or the others
           traveled to the Southern District of Ohio to purchase the firearms. LORENZI,working with
           others, purchased approximately 114 firearms between the approximate dates of February
           24 and March 19,2022. This included, on March 12, 2022, a purchase of thirty-two (32)
           SCCY Industries, model CPX-2,9mm,semi-automatic firearms for approximately $10,940.

      6. On or about Match 14, 2022, an individual working with LORENZI expressed interest in
           purchasing Glock-manufactured firearms.         According to the records available, that
           individual traveled to the Southern District of Ohio and purchased five (5) Glock-
           manufactuied firearms and two(2)SCCY Industries, model CPX-2 firearms. Further, that
           purchaser traveled to the Southern District of Ohio to purchase the firearms,in a vehicle that
           was rented in Batavia, New York,and returned to the same location.

      7. On or about March 19, 2022, an individual working with LORENZI again traveled to the
           Southern District of Ohio and purchased approximately forty-two (42) SCCY Industries,
            model CPX-2,9rnm,semi-automatic firearms.
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    8. Between the approximate dates of March 21 through March 25, 2022, law enforcement
         officers in New York recovered three(3)firearms that have been identified as sold in the
         Southern District of Ohio to LORENZI,working with others.

    9. Between the approximate dates of March 25 and May 26,2022, LORENZI, working with
       others, coordinated the purchase of forty (40) SCCY IndusUies, m(xlel CPX-2, 9mm
         firearms for $13,000. Further, it was indicated that there was future interest in a weekly
         purchase of forty(40)firearms.

     10. Between the approximate dates of May 17 through May 26,2022,LORENZI,working with
         others,engaged in text messages and a telephonic conversation arranging for the purchase of
         sixteen (16) SCCY Industries, model CPX-2, 9mm, semi-automatic firearms for $5,200.
         During those contacts, LORENZI and others arranged for the purchase to occur in
         Columbus,Ohio,on May 26,2022.

     11. On May 26, 2022, LORENZI, with others traveled from Cleveland, Ohio, to Columbus,
         Ohio,for the previously arranged purchase of firearms. LORENZI operated his personally
         owned vehicle and arrived at the designated location. Upon arriving, LORENZI, working
         with others, engaged in conversation with two (2) ATP Special Agents (SA) who were
         acting in an undercover capacity. LORENZI and others examined the firearms, and U.S.
         currency was provided to one of the ATF SA's. Additionally, a bill of sale document was
         completed for the purchase of the firearms. LORENZI and others were then taken into
         custody by ATF SA's.

     12. An ATF Nexus expert determined that the SCCY Industries, semi-automatic firearms that
         were transferred to LORENZI and/or those he was working with on May 26,2022, were not
          manufactured in the state of Ohio and therefore would have affected interstate and/or
         foreign commerce to arrive in Ohio. I queried ATF databases and determined that neither
         LORENZI nor any other parties to the firearms transactions mentioned in this Affidavit
         possessed a federal firearms license ("FFL") as required to engage in the business of
         firearms dealing.
     13. Based upon the aforementioned information and events, and your affiant's training and
         experience in dealing with Federal firearms violations, your affiant believes that probable
         cause exists to believe that between the approximate dates of February 22, and May 26,
         2022, Martino D. LORENZI,engaged in a conspiracy to engage in the business of dealing
         in firearms without a license, in violation of Title 18, United States Code,Sections 371 and
         922(a)(1)(A).
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Teresa Petit, ATF Special Agent




Sworn to before me and signed in my presence.




                                                                May 26, 2022

       EjjjabefcA.J^restop DetK'ers                      Date

     United States Magistrate Judgc^^^
